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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 13-0142CCC
 1) JAIME SEPULVEDA-CONCEPCION
 2) MARIO REYES-CRUZ
 3) EDGAR CANCEL-ZAPATA,
 a/k/a “Dr. Zapata”
 4) SONIA GUZMAN-SILVAGNOLI,
 a/k/a “Dr. Guzmán”
 Defendants



                                            ORDER

       Having considered the Report and Recommendation filed on August 13, 2013
(docket entry 51) on a Rule 11 proceeding of defendant Mario Reyes-Cruz (2) before
U.S. Magistrate Judge Silvia Carreño-Coll on August 7, 2013, to which no objection has
been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since August 7, 2013.          The sentencing hearing is set for
November 7, 2013 at 4:30 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on September 10, 2013.



                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
